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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY


STATE OF NEW JERSEY,

                Plaintiff,

                   v.

UNITED STATES DEPARTMENT OF
TRANSPORTATION, et al.,                                Before: Leo M. Gordon, Judge

                Defendants,                            Court No. 2:23-cv-03885

                   and

METROPOLITAN TRANSPORTATION
AUTHORITY, et al.,

                Defendant-Intervenors.


                                         ORDER

        Upon consideration of Plaintiff’s Application for an Order to Show Cause for

Clarification and/or Reconsideration and for a Temporary Restraining Order and

Preliminary Injunction, Federal Defendants’ Opposition, Defendant-Intervenors The

Metropolitan Transit Authority and The Triborough Bridge and Tunnel Authority’s

Opposition; Oral Argument held this date; and all other papers and proceedings had in

this action; and upon due deliberation, it is hereby

        ORDERED that Plaintiff’s Order to Show Cause is denied in light of the text order,

ECF No. 193, setting the schedule for briefing and oral argument on Plaintiff’s Application;

it is further

        ORDERED that Plaintiff’s Application for Clarification and/or Reconsideration is

denied; and it is further
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       ORDERED that Plaintiff’s Application for a Temporary Restraining Order and

Preliminary Injunction is denied.




                                      /s/ Leo M. Gordon
                                      Leo M. Gordon, Judge
                                      U.S. Court of International Trade
                                      (sitting by designation in the District of New Jersey)



Dated: January 3, 2025
       Newark, New Jersey
